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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

CRYSTAL SOLIS VILLEGAS, et al CIVIL NO. 04-1000 (SEC)
Plaintiffs
Vv. TORT ACTION FOR MEDICAL
MALPRACTICE
TURABO MEDICAL CENTER, S.E.,
et al TRIAL BY JURY DEMANDED
Defendants

 

 

ANSWER TO AMENDED COMPLAINT
TO THE HONORABLE COURT:

COME NOW codefendants, Dr. Hernan Echeverri-Londofo and the conjugal
partnership constituted with his wife, and, through the undersigned attorneys,
respectfully states and requests as follows:

1. Paragraph number 1 of the Amended Complaint is denied for lack of
sufficient knowledge or information to sustain an opinion as to its veracity.

2. As to paragraph number 2 of the Amended Complaint, it is only
admitted that Dr. Hernan Echeverri-Londono is domiciled in Puerto Rico.

3. Paragraph number 3 of the Amended Complaint is denied for lack of
sufficient knowledge or information to sustain an opinion as to its veracity.
Federal jurisdiction in this case is contested.

4. Paragraph number 4 of the Amended Complaint is denied for lack of

sufficient knowledge or information to sustain an opinion as to its veracity.

 
 

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5-7. Paragraphs number 5, 6, and 7 of the Amended Complaint do not
require responsive pleadings from the appearing codefendants since their
allegations are aimed at other codefendants. Should an answer be required from
appearing codefendants, such paragraphs of the Amended Complaint are denied.

8. As to paragraph number 8 of the Amended Complaint it is admitted
that Dr. Echeverri-Londofio is an internist and that he is authorized to practice
medicine in Puerto Rico.

9. As to paragraph number 9 of the Amended Complaint it is only
admitted that Dr. Echeverri-Londofio is insured under a medical malpractice
policy number PRM-12025, issued by the Insurers’ Syndicate for the Joint
Underwriting of Medico-Hospital Liability Insurance (hereinafter “SIMED”), whose
coverage limits are of $100,000 for each medical incident ‘covered and an
aggregate of $300,000. This policy is strictly subject to its clauses, conditions,
limitations and exclusions.

10. Paragraph number 10 of the Amended Complaint does not require a
responsive pleading from appearing codefendants since its allegations are aimed
at other codefendant. Should an answer be required from appearing

codefendants, such paragraph of the Amended Complaint is denied.

 
 

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11. The allegation contained in paragraph 11 of the Amended Complaint
is denied. It is only admitted that Dr. Echeverri-Londono is married and that a
conjugal partnership is constituted with his wife.

12. Paragraph number 12 of the Amended Complaint does not require a
responsive pleading from appearing codefendants. Should an answer be required
from appearing codefendants, such paragraph of the Amended Complaint is
denied.

13-15, Paragraphs number 13, 14, and 15 of the Amended Complaint do
not require responsive pleadings.

16. Paragraph number 16 of the Amended Complaint is denied for lack
of sufficient knowledge or information to sustain an opinion as to its veracity.

17. Paragraph number 17 of the Amended Complaint does not require a
responsive pleading from appearing codefendants since its allegations are aimed
at other codefendant. Should an answer be required from appearing
codefendants, such paragraph of the Amended Complaint is denied.

18. Paragraph number 18 of the complaint is denied for lack of sufficient
knowledge and information to sustain an opinion as to its veracity.

18a. Second paragraph identified with number 17 in the Amended
Complaint does not require a responsive pleading from appearing codefendants

since its allegations are aimed at other codefendant. Should'an answer be

 
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required from appearing codefendant, such paragraph of the Amended Complaint
is denied.

18b. As to the allegation contained in the second paragraph identified with
number 18 in the Amended Complaint, it is denied for lack of sufficient knowledge
or information to sustain an opinion as to its veracity.

19. The allegation in paragraph number 19 of the Amended Complaint is
denied for lack of sufficient knowledge or information to sustain an opinion as to
its veracity.

20-21. Paragraphs number 20 and 21 of the Amended Complaint are denied
as drafted.

22-23, Paragraphs number 22 and 23 of the Amended Complaint are denied
for lack of sufficient knowledge or information to sustain an opinion as to their
veracity.

24. Paragraph number 24 of the Amended Complaint is denied as drafted.

25. Paragraph number 25 of the Amended Complaint is denied for lack
of sufficient knowledge or information to sustain an opinion as to its veracity.

26-27. Paragraphs number 26 and 27 of the Amended Complaint do not
require responsive pleadings from appearing codefendants since their allegations
are aimed at other codefendants. Should an answer be required from appearing

codefendants, such paragraphs of the Amended Complaint are denied.

 
 

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28-29. Paragraphs number 28 and 29 of the Amended Complaint are
denied.

30-31. Paragraphs number 30 and 31 of the Amended Complaint do not
require responsive pleadings from appearing codefendants since their allegations
are aimed at other codefendant. Should an answer be required from appearing
codefendants, such paragraphs of the Amended Complaint are denied.

32. Paragraph number 32 of the Amended Complaint is denied to the
extent that it refers to Dr. Echeverri-Londofio.

33. Paragraph number 33 of the Amended Complaint is denied.

34. Paragraph number 34 of the Amended Complaint is denied for lack
of sufficient knowledge or information to sustain an opinion as to its veracity.

35-48, Paragraphs number 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46,
47, and 48 of the Amended Complaint do not require responsive pleadings from
appearing codefendants since their allegations are aimed at other codefendant.
Should an answer be required from appearing codefendants, such paragraphs of
the Amended Complaint are denied.

49-64. Paragraphs number 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60,
61, 62, 63, and 64 of the Amended Complaint do not require responsive pleadings

from appearing codefendants since their allegations are aimed at other
 

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codefendants. Should an answer be required from appearing codefendants, such
paragraphs of the Amended Complaint are denied.

65-67. Paragraphs number 65, 66, and 67 of the Amended Complaint do
not require responsive pleadings from appearing codefendants since their
allegations are aimed at other codefendants. Should an answer be required from
appearing codefendants, such paragraphs of the Amended Complaint are denied.

68-72. Paragraphs number 68, 69, 70, 71, and 72 of the Amended
Complaint do not require responsive pleadings from appearing codefendants since
their allegations are aimed at other codefendants. Should an answer be required
from appearing codefendants, such paragraphs of the Amended Complaint are
denied.

73-80. Paragraphs number 73, 74, 75, 76, 77, 78, 79, and 80 of the
Amended Complaint are denied.

81-83. Paragraphs number 81, 82, and 83 of the Amended Complaint are
denied.

84-85. Paragraphs number 84 and 85 of the Amended Complaint are
denied.

86-87. Paragraphs number 86 and 87 of the Amended Complaint are denied
for lack of sufficient knowledge or information to sustain an opinion as to their

veracity.
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87a. As to the second paragraph identified with number 87, it is denied.

88-91. Paragraphs number 88, 89, 90, and 91 of the Amended Complaint
are denied.

92. Paragraph number 92 of the Amended Complaint does not require a

responsive pleading. The right to jury trial in this case is contested.

AFFIRMATIVE DEFENSES

1. The Amended Complaint fails to state a claim upon which relief can
be granted.

2. This Court lacks subject matter jurisdiction to entertain this action.

3. This Court lacks supplemental jurisdiction.

4. The plaintiffs have failed to invoke properly federal jurisdiction.

5. The medical treatment dispensed by Dr. Hernan A. Echeverri-Londofo

to patient Felicita Villegas fulfills the professional standards generally recognized
by the best practice of medicine.

6. The medical condition of patient Felicita Villegas was caused by acts
or omissions of third parties unrelated to the appearing codefendant for whom he
cannot be held liable.

7. The medical condition of patient Felicita Villegas is part of an inherent

risk of the condition which she suffered and the treatment afforded to him.

 
 

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8. There is no causal relationship between the damages and the acts or
omissions alleged against Dr. Hernan A. Echeverri-Londofio.

9, The death of patient Felicita Villegas, and therefore, plaintiffs’
damages were the result of intervening causes that occurred after the treatment
afforded by Dr. Hernan A. Echeverri-Londono.

10. The treatment afforded by Dr. Hernan A. Echeverri-Londofo to patient
Felicita Villegas was not the proximate cause of his demise.

11. Plaintiffs have failed in their burden of showing sufficient evidence to
overcome the presumption of correctness in the diagnosis and treatment received
by patient Felicita Villegas from Dr. Hernan A. Echeverri-Londofio.

12. The health of patient Felicita Villegas was a contributory cause to his
medical condition and eventual demise, and thus of the damages allegedly
suffered by plaintiffs.

13. This action is time-barred by the applicable statute of limitations.

14. Plaintiffs did not toll the applicable statute of limitation with respect
to their action against Dr. Hernan A. Echeverri-Londono, and therefore said action
is time-barred.

15. The allegations contained in the instant complaint are barred by the

application of the principle of res judicata and/or collateral estoppel and/or issue

preclusion.
 

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16. The appearing defendant, Dr. Hernan A. Echeverri-Londono, did not
participate in any of the actions or omissions that allegedly caused the patient’s
demise, and hence, he is not responsible or liable for any damages as alleged by
plaintiffs.

17. No joint and several liability can be imposed on Dr. Hernan A.
Echeverri-Londono for acts or omissions of HIMA and/or its personnel.

18. Dr. Hernan A. Echeverri-Londofio is not a joint tortfeasor.

19. Had Dr. Hernan A. Echeverri-Londono participated in any act or
omission that could have departed from the applicable standard of care according
to the best practice of medicine, which is denied, he still cannot be held liable to
plaintiffs because he is protected from liability by the doctrine of reasonable
judgment error (“error de juicio honesto y razonable”).

20. The plaintiffs failed to join an indispensable party.

21. Patient Felicita Villegas assumed the risks of his treatment.

22. Plaintiffs’ causes of action are barred under the doctrine of laches.

23. Plaintiffs waived their claims.

24. Plaintiffs failed to mitigate damages.

25. There is no valid cause of action for punitive damages.
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26. The insurance policy issued by SIMED to Dr. Hernan A. Echeverri-
Londonio is strictly limited and defined by the terms and conditions, including
coverage limits, stated in the insurance contract.

27. Dr. Hernan A. Echeverri-Londofio reserves his right to amend this
answer to complaint at the conclusion of the discovery proceedings and to raise
any additional affirmative defenses based on new information.

WHEREFORE, it is respectfully requested from this Honorable Court that
the instant action be dismissed with prejudice and that costs, fees, expenses and
a reasonable amount of attorneys fees be awarded to the appearing defendant.

RESPECTFULLY SUBMITTED.

Thereby certify that on July 14, 2004, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following attorneys: Jeffrey M. Williams-English, Esq.,
jeffrey.williams@indianowilliams.com; Ada Sofia Esteves,
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At San Juan, Puerto Rico, July 14, 2004.

S/ Luis R. Ramos-Cartagena
LUIS R. RAMOS CARTAGENA

 
 

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USDC-PR No. 220310

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Echeverri and the conjugal partnership
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